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                                12-12020-mg          Doc 6082-1
                                     Filed 12/12/13 Entered 12/12/13 19:06:06 Exhibit A
                                             Pg 2 of 6
SUMMARY OF EXPENSES INCURRED BY SEVERSON & WERSON P.C.
ON BEHALF OF THE DEBTORS FOR THE PERIOD May 1, 2013 THROUGH August 31, 2013
Code   Expense Code      Date     Bill Number   Amount On Bill                                                                           Narrative

0704 0015             5/6/2013         351071           $806.50 First Legal Network, LLC; Court Services; Job no. 6898948 SMSC- Redwood City, Ca. 3/26/13

1500 0050             5/7/2013         353226            $49.95 One Legal, Inc.; Transmittal of filing to court; Notice of Bankruptcy 04/29/13

0588 0050             5/7/2013         350815           $118.70 One Legal, Inc.; Transmittal of filing to court; Opposition, Separate Statement, Request for Judicial Notice, Declaration of Rebecca Saelao, Declaration of
                                                                Myron...04/16/13
0844 0059             5/8/2013         351072            $20.98 Federal Express Corporation EDI; Federal Express; Clerk of the Court CA Cts of Appeal, 4th Dist. D 601 W Santa Ana Blvd Santa Ana, CA 92701 04/23/13

0588 0056             5/9/2013         350815           $282.60 Rebecca S. Saelao; Travel and Expenses to; Attend Settlement Conference at Sonoma County Superior Court, Santa Rosa, Ca. 5/6/13

0588 0015             5/10/2013        350815            $95.00 First Legal Network, LLC; Court Services; Job no 6896330 Sonoma County Superior Court, Santa Rosa, Ca. 3/19/13

0704 0023             5/10/2013        351071            $95.50 First Legal Network, LLC; Serv Process, Subpoena Fees; Job no. 6908275 LSI Title Company at 818 W. Seventh St., Los Angeles, Ca. 4/24/13

1501 0050             5/13/2013        353231            $49.95 One Legal, Inc.; Transmittal of filing to court; Notice of Bankruptcy and Suggestion of Automatic Stay 04/09/13

1507 0060             5/14/2013        353255            $25.25 Cardmember Service /Chase (Acct 7297); Data Search; CA, San Bernardino Specific Document 2011.123968 04/30/13 (24064.1057)

0419 0060             5/14/2013        349996            $33.71 Cardmember Service /Chase (Acct 7297); Data Search; 632 S Evergreen Ave, Los Angeles, CA, 90023, Los Angeles 04/11/13

1504 0060             5/14/2013        354879            $33.71 Cardmember Service /Chase (Acct 7297); Data Search; 993 54th St, Oakland, CA, 94608, Alameda 04/17/13

1507 0060             5/14/2013        353255            $34.93 Cardmember Service /Chase (Acct 7297); Data Search; 13066 Norcia Dr, Rancho Cucamonga, CA, 91739, San Bernardino 04/29/13

1500 0060             5/14/2013        353226            $39.98 Cardmember Service /Chase (Acct 7297); Data Search; 7700 Oso Ave, Winnetka, CA, 91306, Los Angeles 04/10/13

1511 0015             5/16/2013        353224             $6.25 First Legal Network, LLC; Court Services; Job no. 9595914 Orange County Court, Santa Ana, Ca. 5/6/13

0588 0012             5/20/2013        350815            $62.91 ABI Document Support Services; Medical, Other Reports; Pertaining to: Ingrid Hill Aka Ingrid Von Mangoldt Hills; Ingrid Vanmangoldthill; at Stanford
                                                                Hospital & Clinics / Hospital Billing Office Palo Alto 05/02/13
1173 0005             5/21/2013        352802           $260.00 Cardmember Service/Bank One (Acct #2707); Court and Filing Fees; Courts/USBC-CA 04/22/13

1515 0050             5/23/2013        353218            $49.95 One Legal, Inc.; Transmittal of filing to court; GMAC's Notice of Bankrupcty and Suggestion of Automatic Stay ETS Services' Notice of Bankruptcy and
                                                                Suggestion of.....05/06/13
1483 0050             5/29/2013        351081             $9.95 One Legal, Inc.; Transmittal of filing to court; GMAC Notice of Bankruptcy Filing and Supplement Servicing Order, ETS Notice of Bankruptcy Filing and
                                                                Supplemental...05/08/13
1333 0050             5/29/2013        351077            $66.20 One Legal, Inc.; Transmittal of filing to court; Notice of Bankruptcy Filing and Supplement Servicing Order 05/08/13

1513 0050             5/31/2013        353233            $49.95 One Legal, Inc.; Transmittal of filing to court; GMAC's Notice of BK and Suggestion of Automatic Stay 05/10/13

1493 0076             6/4/2013         357009           $108.00 CourtCall, LLC; CourtCall - Conference Service; 05/30/13

0704 0023             6/6/2013         354610            $99.25 First Legal Network, LLC; Serv Process, Subpoena Fees; Order no: 6907283 LSI Title Company 818 W. Seventh Street Los Angeles, CA 90017 04/22/13

0588 0059             6/7/2013         353101            $13.41 Federal Express Corporation EDI; Federal Express; Thomas P. Kelly, III 50 Old Courthouse Square Santa Rosa, CA 95404 04/29/13

0588 0059             6/7/2013         353101            $13.41 Federal Express Corporation EDI; Federal Express; Michelle V. Zyromski 645 Fourth Street Santa Rosa, CA 95404 04/29/13

0588 0059             6/7/2013         353101            $13.41 Federal Express Corporation EDI; Federal Express; Hon. Arthur A. Wick Sonoma County Superior Court 600 Administration Drive Santa Rosa, CA 95403
                                                                05/03/13
0588 0059             6/7/2013         353101            $15.08 Federal Express Corporation EDI; Federal Express; Thomas P. Kelly, III 50 Old Courthouse Square Santa Rosa, CA 95404 05/01/13

0588 0059             6/7/2013         353101            $15.08 Federal Express Corporation EDI; Federal Express; Michelle V. Zyromski 645 Fourth Street Santa Rosa, CA 95404 05/01/13

0588 0059             6/7/2013         353101            $52.42 Federal Express Corporation EDI; Federal Express; Luce Gonzales, SC Program Coor Sonoma County Superior Court 3055 Cleveland Avenue Santa Rosa,
                                                                CA 95403 04/29/13
0588 0018             6/10/2013        353101            $87.78 Golden State Legal Copy; Outside Copies; Litigation Copies, Copy of trial binder 05/29/13

0588 0018             6/10/2013        353101            $95.70 Golden State Legal Copy; Outside Copies; Custom Tabs 101-118, 219-220, 3-Hole Drill Copies, Trial proparation 05/31/13
                   12-12020-mg   Doc 6082-1             Filed 12/12/13 Entered 12/12/13 19:06:06                                       Exhibit A
                                                                Pg 3 of 6
9997 0018   6/10/2013   352805    $176.46 Golden State Legal Copy; Outside Copies; Scaning / Imaging, Coding per Document, Black & White Pringtin, Master CD: GMAC May Invioces 05/30/13

0588 0018   6/10/2013   353101    $209.60 Golden State Legal Copy; Outside Copies; Litigation Copies, Trial Exhibits 05/29/13

0588 0059   6/12/2013   353101      $19.28 Federal Express Corporation EDI; Federal Express; Thomas P. Kelly, III 50 Old Courthouse Square Santa Rosa, CA 95404 05/24/13

0588 0059   6/12/2013   353101      $22.79 Federal Express Corporation EDI; Federal Express; Michelle V. Zyromski 645 Fourth Street Santa Rosa, CA 95404 05/24/13

1392 0076   6/12/2013   354667      $78.00 CourtCall, LLC; CourtCall - Conference Service; 06/12/13

1519 0076   6/12/2013   352439      $78.00 CourtCall, LLC; CourtCall - Conference Service; 09/04/13

0829 0060   6/13/2013   352446      $10.10 Cardmember Service/Bank One (Acct #2707); Data Search; CA, Ventura Specific Document 2009.125910 05/28/13

0829 0060   6/13/2013   354612      $33.81 Cardmember Service/Bank One (Acct #2707); Data Search; 1682 Amerelle St, Newbury Park, CA, 91320, Ventura 05/28/13

0588 0018   6/13/2013   353101    $176.04 United Litigation Discovery; Outside Copies; Print Oversize, Color Oversize, Foam Board Mount, Print 3 oversize and mount. 05/30/13

0588 0026   6/14/2013   353101    $374.20 Mary Kate Sullivan; Transportation; Attend trial call and pre-trial motion hearings, Santa Rosa 5/31/13 - 6/7/13

0588 0026   6/14/2013   353101    $436.04 Rebecca S. Saelao; Transportation; Pre-trial hearings, Sonoma County Sup. Ct. 6/6/13

0588 0056   6/14/2013   353101   $1,297.89 Rebecca S. Saelao; Travel and Expenses to; Trial, Santa Rosa 5/30/13 - 6/4/13

1493 0050   6/17/2013   357009      $49.95 First Legal Network, LLC; Transmittal of filing to court; Job no. 9604736 LA County Court- Compton, CA 5/31/13

1518 0050   6/17/2013   353221      $49.95 First Legal Network, LLC; Transmittal of filing to court; Job no. 9603689. LA County Court- Van Nuys East 5/29/13

0588 0015   6/17/2013   353101    $130.00 First Legal Network, LLC; Court Services; Job no. 6919316 Sonoma County Superior Court, Santa Rosa, Ca. 95403-2818. Advance ck. 20.00 5/29/13.
                                          Preparation for Trial.
0588 0015   6/17/2013   353101    $140.15 First Legal Network, LLC; Court Services; Job no. 6918855 Sonoma- Civil & Family Law, Santa Rosa, Ca. 5/28/13

0588 0015   6/17/2013   353101    $243.00 First Legal Network, LLC; Court Services; Job no. 6919770 Sonoma- Civil & Family Law, Santa Rosa, Ca. 5/30/13

0572 0076   6/18/2013   354607      $78.00 CourtCall, LLC; CourtCall - Conference Service; 06/14/13

1335 0076   6/18/2013   357879      $78.00 CourtCall, LLC; CourtCall - Conference Service; 06/18/13

1053 0005   6/19/2013   353225       $4.50 Clerk, Ventura County Superior Court; Court and Filing Fees; Copy of Second Amended Complaint. 5/24/13. Draft#30453

0023 0005   6/19/2013   352799    $125.00 Superior Court; Court and Filing Fees; 5 original abstracts & judgment. Draft#30564 5/24/13

1173 0005   6/19/2013   352802    $176.00 Cardmember Service/Bank One (Acct #2707); Court and Filing Fees; Courts/USBC-CA 05/17/13

0588 0023   6/19/2013   353101    $282.45 Specialized Legal Services, Inc.; Serv Process, Subpoena Fees; Hitoshi Inoue, 3735 Coffey Lane, Santa Rosa, Trial Preparation 05/31/13

0000 0005   6/19/2013   353243    $396.15 Cardmember Service/Bank One (Acct #2707); Court and Filing Fees; SD SUPCRT ROA CA 05/21/13

0588 0006   6/20/2013   353101    $697.50 Becki Peterson- D; Deposition Transcript; Court Reporter Fee for Transcript of 6/6 & 6/7 Court Proceedings. Draft#29741. 6/10/13

1042 0005   6/26/2013   353228       $7.50 Cardmember Service/Bank One (Acct 5773); Court and Filing Fees; SD SUPCRT ROA CA 06/07/13 (Ryan Brooks Card#8568)

1115 0050   6/26/2013   354617      $49.95 One Legal, Inc.; Transmittal of filing to court; Declaration of Yaron Shaham in Response to the Court's OSC Re Sanction 06/04/13

1392 0050   6/26/2013   354667      $49.95 One Legal, Inc.; Transmittal of filing to court; CMS 05/31/13

1527 0050   6/26/2013   353227      $49.95 One Legal, Inc.; Transmittal of filing to court; Notice of BK and Suggestion of Automatic Stay 05/29/13

1392 0050   6/27/2013   354667      $49.95 One Legal, Inc.; Transmittal of filing to court; Amended Notice of BK 06/06/13

1493 0050   6/27/2013   357009      $49.95 First Legal Network, LLC; Transmittal of filing to court; Job no. 9606814. LA County Court- Compton, Ca. 6/6/13

1518 0050   6/27/2013   353221      $49.95 First Legal Network, LLC; Transmittal of filing to court; Job no. 9607368. LA County Court- Van Nuys, Ca. 6/7/13

1528 0050   6/27/2013   353235      $49.95 One Legal, Inc.; Transmittal of filing to court; Notice of BK 06/10/13
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0588 0015   6/27/2013   353101    $206.50 First Legal Network, LLC; Court Services; Job no. 6924681. Sonoma- Civil & Family Law, Santa Rosa, Ca. 6/13/13

0023 0021   6/28/2013   352799      $7.00 Contra Costa County Recorder-D; Recorder Fees; Additional fee re recording of abstract. Draft#30596 6/18/13.

0023 0005   6/28/2013   352799     $29.00 Contra Costa County Superior Court; Court and Filing Fees; Recording fee for abstract of judgment. Draft#30563

0023 0021   6/28/2013   352799     $44.00 Clerk, Alameda County Recorder's Office; Recorder Fees; Fee to record abstract of judgment. Draft#30592 6/14/13

0572 0050   6/28/2013   354607     $49.95 One Legal, Inc.; Transmittal of filing to court; Case Management Statement 06/13/13

1053 0076   7/2/2013    357877     $78.00 CourtCall, LLC; CourtCall - Conference Service; 09/09/13

1386 0076   7/2/2013    357880     $78.00 CourtCall, LLC; CourtCall - Conference Service; 07/09/13

0704 0050   7/5/2013    354610     $29.95 One Legal, Inc.; Transmittal of filing to court; Proof Stipulation including Court Filing Fee $20 06/24/13

9997 0018   7/5/2013    354877    $141.33 Golden State Legal Copy; Outside Copies; Dosc: GMAC June Invoices Scanning / Imaging..etc. 06/28/13

0683 0060   7/8/2013    354660      $8.56 Cardmember Service /Chase (Acct 7297); Data Search; 3910 Walton Ave, Los Angeles, CA, 90037, Los Angeles 06/05/13

0851 0060   7/8/2013    354614      $8.56 Cardmember Service /Chase (Acct 7297); Data Search; 1251 76th Ave, Oakland, CA, 94621, Alameda 06/06/13

0704 0060   7/8/2013    354610     $33.81 Cardmember Service /Chase (Acct 7297); Data Search; 408 Chestnut Ave, Santa Ana, CA, 92701, Orange 06/05/13

1386 0050   7/8/2013    357880     $49.95 One Legal, Inc.; Transmittal of filing to court; Case Management Statement 06/25/13

1524 0060   7/8/2013    354621     $89.36 Cardmember Service /Chase (Acct 7297); Data Search; 8000 Hansom Dr, Oakland, CA, 94605, Alameda 06/10/13

1270 0015   7/15/2013   354663     $13.62 NORCO Delivery Services; Court Services; US District Court Central, Los Angeles, Ca. 5/29/13

0683 0013   7/15/2013   354660     $13.80 NORCO Delivery Services; Messenger; First American Title Insurance, Santa Ana, Ca. 6/17/13

0851 0076   7/16/2013   354614     $86.00 CourtCall, LLC; CourtCall - Conference Service; 07/26/13

1337 0076   7/16/2013   354666     $86.00 CourtCall, LLC; CourtCall - Conference Service; 07/15/13

0588 0076   7/17/2013   354608      $0.84 PGI- Premiere Global Services; CourtCall - Conference Service; 5/24/13

0588 0076   7/17/2013   354608      $4.65 PGI- Premiere Global Services; CourtCall - Conference Service; 6/3/13

0588 0076   7/17/2013   354608      $9.45 PGI- Premiere Global Services; CourtCall - Conference Service; 5/21/13

0588 0076   7/17/2013   354608     $18.28 PGI- Premiere Global Services; CourtCall - Conference Service; 6/6/13

0588 0076   7/17/2013   354608     $24.17 PGI- Premiere Global Services; CourtCall - Conference Service; 5/21/13

0588 0076   7/17/2013   354608     $24.18 PGI- Premiere Global Services; CourtCall - Conference Service; 5/23/13

0704 0076   7/17/2013   354610     $24.59 PGI- Premiere Global Services; CourtCall - Conference Service; 5/21/13

0588 0076   7/17/2013   354608     $26.07 PGI- Premiere Global Services; CourtCall - Conference Service; 5/24/13

0588 0076   7/17/2013   354608     $44.54 PGI- Premiere Global Services; CourtCall - Conference Service; 6/3/13

1270 0060   7/19/2013   354663      $1.50 Pacer Service Center; Data Search; Customer no. SW0817. 04/01/13-06/30/13

1270 0060   7/19/2013   354663      $3.10 Pacer Service Center; Data Search; Customer no. SW0817. 04/01/13-06/30/13

1507 0050   7/19/2013   354669     $22.95 One Legal, Inc.; Transmittal of filing to court; Proposed Order, Opposition, Notice of Motion, General/Other,..05/29/13

0628 0060   7/19/2013   354609     $28.45 Pacer Service Center; Data Search; Customer no. SW0817. 04/01/13-06/30/13

0325 0060   7/19/2013   354606     $30.32 Pacer Service Center; Data Search; Customer no. SW0817. 04/01/13-06/30/13

1541 0060   7/19/2013   354624     $35.36 Pacer Service Center; Data Search; Customer no. SW0817. 04/01/13-06/30/13
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0844 0060   7/19/2013   354613      $36.16 Pacer Service Center; Data Search; Customer no. SW0817. 04/01/13-06/30/13

1270 0060   7/22/2013   354663       $1.40 Pacer Service Center; Data Search; Account No. SW0122 04/01/13- 06/30/13

1507 0060   7/22/2013   354669      $14.70 Pacer Service Center; Data Search; Account No. SW0122 04/01/13- 06/30/13

1512 0060   7/22/2013   354190      $27.18 Pacer Service Center; Data Search; Account No. SW0122 04/01/13- 06/30/13

1504 0060   7/22/2013   354879      $29.15 Pacer Service Center; Data Search; Account no. SW0061. 04/01/13 - 06/30/13

1516 0060   7/22/2013   354619      $36.36 Pacer Service Center; Data Search; Account no. SW0061. 04/01/13 - 06/30/13

9997 0060   7/22/2013   354877      $59.93 Pacer Service Center; Data Search; Account no. SW0061. 04/01/13 - 06/30/13

0711 0076   7/24/2013   354611      $13.63 PGI- Premiere Global Services; CourtCall - Conference Service; 7/1/13

0711 0076   7/24/2013   354611      $16.96 PGI- Premiere Global Services; CourtCall - Conference Service; 6/13/13

0711 0076   7/24/2013   354611      $17.80 PGI- Premiere Global Services; CourtCall - Conference Service; 6/26/13

0711 0076   7/24/2013   354611      $25.55 PGI- Premiere Global Services; CourtCall - Conference Service; 6/24/13

1392 0015   7/24/2013   354667      $51.73 DDS Legal Support Systems; Court Services; LASC- South Long Beach, Ca. Advanced ck. $1.00 7/10/13

0286 0005   7/30/2013   354605       $7.50 Cardmember /Bank One (Acct 5773); Court and Filing Fees; Co Superior Court WE CA 06/27/13 (Mary Cronin Card#3188)

0588 0056   7/30/2013   354608    $860.69 Rebecca S. Saelao; Travel and Expenses to; Attend Deposition of Myron Ravelo, Burbank 7/17/13 - 7/18/13

0588 0056   7/30/2013   354608   $1,834.13 Rebecca S. Saelao; Travel and Expenses to; Deposition of Kyle Lucas, Dallas 7/21/13 - 7/23/13

1546 0005   7/31/2013   354627    $870.00 Clerk of the Superior Court; Court and Filing Fees; First appearance fee- GMAC & ETS Notice of Bankruptcy. Draft#30724 7/18/13

0651 0076   8/2/2013    359838      $86.00 CourtCall, LLC; CourtCall - Conference Service; 09/24/13

0704 0076   8/2/2013    357832      $99.00 CourtCall, LLC; CourtCall - Conference Service; 07/19/13

1548 0060   8/5/2013    357351       $8.25 Cardmember Service /Chase (Acct 7898); Data Search; 13518 McFarland St, Galt, CA, 95632, Sacramento 07/15/13

1546 0060   8/5/2013    359602      $13.00 Cardmember Service /Chase (Acct 7898); Data Search; 1743 11th St, Los Osos, CA, 93402, San Luis Obispo 07/12/13

1270 0060   8/5/2013    359841      $17.77 Cardmember Service /Chase (Acct 7898); Data Search; 5851 7th Ave, Los Angeles, CA, 90043, Los Angeles 07/23/13

1274 0076   8/5/2013    357347      $86.00 CourtCall, LLC; CourtCall - Conference Service; 08/05/13

1519 0076   8/5/2013    357348      $86.00 CourtCall, LLC; CourtCall - Conference Service; 08/27/13

1528 0060   8/5/2013    361620    $140.72 Cardmember Service /Chase (Acct 7898); Data Search; 2442 Palo Verde, Long Beach, CA, 90815, Los Angeles 07/21/13

1337 0060   8/5/2013    355964    $321.71 Cardmember Service /Chase (Acct 7898); Data Search; 1739 11th St, Los Osos, CA, 93402, San Luis Obispo 07/09/13

1545 0060   8/5/2013    361628    $466.19 Cardmember Service /Chase (Acct 7898); Data Search; 21927 Scallion Dr, Saugus, CA, 91350, Los Angeles 07/17/13

1531 0050   8/6/2013    357349      $82.95 First Legal Network, LLC; Transmittal of filing to court; Order no: 6936774 Monterey Co Superior Ct-Monterey, CA 07/19/13 Adv/Ck; $435

0588 0015   8/6/2013    356885    $110.00 First Legal Network, LLC; Court Services; Order no: 6920569 Sonoma County Superior Court, Santa Rosa CA 05/31/13

0588 0015   8/6/2013    356885    $153.10 First Legal Network, LLC; Court Services; Order no. 6939283. Sonoma County Superior Court. 7/26/13. Advance ck. $23.00

1519 0050   8/6/2013    357348    $937.70 First Legal Network, LLC; Transmittal of filing to court; Order no: 6937649 SJMC-Stockton, CA 07/23/13 Adv/Ck; $870

0704 0023   8/7/2013    357832      $52.50 First Records Retrieval; Serv Process, Subpoena Fees; Business Records at LSI Title Company c/o CT Corp. Los Angeles, 5/13/13.

1548 0005   8/7/2013    357351    $435.00 Sacramento County Superior Court-D; Court and Filing Fees; First Appearance & Notice. Draft#29588 7/16/13

0704 0050   8/8/2013    357832      $13.91 One Legal, Inc.; Transmittal of filing to court; Case Management Statement 07/17/13
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1270 0015   8/8/2013    359841        $19.35 NORCO Delivery Services; Court Services; US District Court Central, Los Angeles, CA. 7/24/13

1500 0015   8/8/2013    357881      $471.65 DDS Legal Support Systems; Court Services; LASC- Northwest-Van Nuys, Ca. 7/24/13. Advanced fees $435.00

1500 0026   8/12/2013   357881        $69.27 David M. Liu; Transportation; CMC- Courtcall not allowed, LASC-Van Nuys, Ca. 8/7/13

9997 0018   8/12/2013   356891      $211.86 Golden State Legal Copy; Outside Copies; Desc: GMAC July Invoices, Litigation Copies Staple/Clip Copies as Originals Re-Staple/Re-Clip Originals,
                                            Scanning / Imaging..etc.. 07/30/13
0704 0050   8/14/2013   357832        $9.95 One Legal, Inc.; Transmittal of filing to court; Summons, Civil Case Cover Sheet, Civil Case Cover Sheet, Amended Complaint 07/22/13

0704 0050   8/14/2013   357832         $9.95 One Legal, Inc.; Transmittal of filing to court; Summons, Civil Case Cover Sheet, Civil Case Cover Sheet, Amended Complaint 07/22/13

1500 0050   8/14/2013   357881        $49.95 One Legal, Inc.; Transmittal of filing to court; Case Management Statement. 7/24/13

0588 0006   8/20/2013   356885     $1,128.70 Affinity Court Reporters, a Behmke Company; Deposition Transcript; Certified Transcript: Myron Ravelo 7/31/13

0704 0050   8/21/2013   357832         $9.95 One Legal, Inc.; Transmittal of filing to court; Summons 07/24/13

0704 0023   8/21/2013   357832       $35.95 One Legal, Inc.; Serv Process, Subpoena Fees; Summons on Fist Amended Complaint, Stipulation For Plaintiff's to File Amended Complaint And Order,
                                            First...Served: LSI Title Company 818 W Seventh Street Los Angeles, CA 90017 08/01/13
9997 0018   8/22/2013   356891      $179.10 Golden State Legal Copy; Outside Copies; Desc: GMAC August Invoices, Litigation Copie, Scanning / Imaging 08/17/13

0588 0006   8/22/2013   356885     $1,017.62 Continental Court Reporters, Inc.; Deposition Transcript; One Certified Copy of the Deposition of: Kyle Lucas 08/15/13

0588 0006   8/22/2013   356885     $1,911.00 Continental Court Reporters, Inc.; Deposition Transcript; Video Services - Video Recording of Depositions Kyle Lucas 08/16/13

1274 0050   8/23/2013   357347        $50.70 One Legal, Inc.; Transmittal of filing to court; Dimissal 08/06/13
                                 $21,965.03
